         Case:21-00878-MCF7 Doc#:2 Filed:03/19/21 Entered:03/19/21 19:15:41                                                                  Desc: Main
                                  Document Page 1 of 11
Fill in this information to identify your case:

Debtor 1             Nilva Bernice Peguero Pimentel

Debtor 2            Felix Roman Estrada
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF PUERTO RICO                                                                              Check if this is an
                                                                                                                                                   amended filing


B 103B
Application to Have the Chapter 7 Filing Fee Waived                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).

Part 1:      Tell the Court About Your Family and Your Family's Income

1. What is the size of your                       Check all that apply:
   family?
   Your family includes you, your                       You
   spouse, and any dependents
   listed on Schedule J: Your                           Your spouse
   Expenses (Official Form 106J).                       Your dependents                            0                                     2
                                                                                          How many dependents?          Total number of people

2. Fill in your family’s average                                                                                                             That person’s average
   monthly income.                                                                                                                           monthly net income
                                                                                                                                             (take-home pay)
    Include your spouse’s income if your
    spouse is living with you, even if your          Add your income and your spouse’s income. Include
    spouse is not filing.                            the value (if known) of any non-cash governmental
    Do not include your spouse’s income              assistance that you receive, such as food stamps
    if you are separated and your spouse             (benefits under the Supplemental Nutrition Assistance
    is not filing with you.                          Program) or housing subsidies.                               You................         $                  0.00

                                                     If you have already filled out Schedule I: Your Income,
                                                     see line 10 of that schedule.                                Your spouse            +     $                 0.00

                                                                                                                  Subtotal.........            $                 0.00

                                                     Subtract any non-cash governmental assistance that
                                                     you included above.                                                                 -     $                 0.00

                                                     Your family’s average monthly net income                     Total...............         $                 0.00

                                                                                           Type of assistance
3. Do you receive non-cash governmental                       No                           Coupons $265
   assistance?                                                Yes. Describe.........



4. Do you expect your family’s average                        No
   monthly net income to increase or
                                                              Yes. Explain. ...........
   decrease by more than 10% during the
   next 6 months?

5. Tell the court why you are unable to pay the filing fee in                              We are unable due to the excessively low income & can not
   installments within 120 days. If you have some additional                               barely feed ourselves.
   circumstances that cause you to not be able to pay your filing fee in
   installments, explain them.




B 103B (Official Form 103B)                             Application to Have the Chapter 7 Filing Fee Waived                                        page 1
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                                  Document Page 2 of 11
Debtor 1        Nilva Bernice Peguero Pimentel                                     Case number (if known)
Debtor 2        Felix Roman Estrada


Part 2: Tell the Court About Your Monthly Expenses
6. Estimate your average monthly expenses.

    Include amounts paid by any government assistance
    that you reported on line 2.                                        $                                     0.00

    If you have already filled out Schedule J, Your Expenses,
    copy line 22 from that form.

7. Do these expenses cover anyone                 No
   who is not included in your family
                                                  Yes. Identify who.....
   as reported in line 1?


8. Does anyone other than you                     No
   regularly pay any of these
   expenses?
                                                  Yes. How much do you regularly receive as contributions? $         0.00   monthly

    If you have already filled out
    Schedule I: Your Income, copy the
    total from line 11.

9. Do you expect your average                     No
   monthly expenses to increase or
                                                  Yes. Explain. ..........
   decrease by more than 10%
   during the next 6 months?


Part 3: Tell the Court About Your Property
If you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.

10. How much cash do you have?
    Examples: Money you have in your wallet,
    in your home, and on hand when you file
    this application                                 Cash:                                $

11. Bank accounts and other
    deposits of money?                                                       Institution name:                                          Amount:
    Examples: Checking, savings,
    money market, or other financial      Checking account:                                                                             $
    accounts; certificates of deposit;
    shares in banks, credit unions,       Savings account:                                                                              $
    brokerage houses , and other          Other financial accounts:                                                                     $
    similar institutions. If you have     Other financial accounts:                                                                     $
    more than one account with the
    same institution, list each. Do
    not include 401(k) and IRA
    accounts.

12. Your home? (if you own it outright
    or are purchasing it)                                                                                              Current value:       $
                                                  Number Street
      Examples: House, condominium,                                                                                    Amount you
      manufactured home, or mobile                                                                                     owe on
      home                                                                                                             mortgage and
                                                                                                                       liens:               $
                                                  City                                 State            Zip Code

13. Other real estate?                                                                                                 Current value:       $
                                                  Number Street
                                                                                                                       Amount you
                                                                                                                       owe on
                                                                                                                       mortgage and
                                                                                                                       liens:               $
                                                  City                                 State            Zip Code

14. The vehicles you own?                     Make:                                                                    Current value:       $
                                              Model:
B 103B (Official Form 103B)                            Application to Have the Chapter 7 Filing Fee Waived                               page 2
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Debtor 1        Nilva Bernice Peguero Pimentel                                   Case number (if known)
Debtor 2        Felix Roman Estrada

      Examples: Cars, vans, trucks             Year:                                                                      Amount you
                                                                                                                          owe                  $
      sports utility vehicles, motorcycles,    Mileage                                                                    on liens:
      tractors, boats
                                               Make:                                                                      Current value:       $
                                               Model:
                                               Year:                                                                      Amount you
                                                                                                                          owe                  $
                                               Mileage                                                                    on liens:

15. Other assets?                       Describe the other assets:                     Current value:                 $
    Do not include household                                                           Amount you owe
    items and clothing.                                                                on liens:                      $

16. Money or property due you?            Who owes you the money or property?                 How much is owed?             Do you believe you will likely
                                                                                                                            receive payment in the next 180
                                                                                                                            days?
      Examples: Tax refunds, past
                                                                                                                               No
      due or lump sum alimony,
      spousal support, child support,                                                     $                                    Yes. Explain:
      maintenance, divorce or
      property settlements, Social
      Security benefits, workers
      compensation, personal injury
      recovery                                                                            $

Part 4:       Answer These Additional Questions
17. Have you paid anyone for                   No
    services for this case,
                                               Yes. Whom did you pay? Check all that apply:                                          How much did you pay?
    including filling out this
    application, the bankruptcy                     An Attorney
    filing package, or the                          A bankruptcy petition preparer, paralegal, or typing service
    schedules?                                      Someone else
                                                                                                                                    $                        0.00

18. Have you promised to pay or                No                                                                                           How much do you
    do you expect to pay
                                               Yes. Whom do you expect to pay? Check all that apply:                                          expect to pay?
    someone for services for your
    bankruptcy case?                                An Attorney
                                                    A bankruptcy petition preparer, paralegal, or typing service
                                                    Someone else
                                                                                                                                    $                        0.00

19. Has anyone paid someone on                 No
    your behalf for services for
                                               Yes. Who was paid on your behalf?               Who paid?                                       How much did
    this case?
                                                 Check all that apply:                         Check all that apply:                       someone else pay?
                                                    An Attorney                                   Parent
                                                    A bankruptcy petition preparer,               Brother or sister
                                                paralegal, or typing service                      Friend
                                                    Someone else                                  Pastor or clergy
                                                                                                  Someone else                      $                        0.00

20. Have you filed for
                                        No                                                                            Case
    bankruptcy within the
    last 8 years?                       Yes.        District                          When                            Number
                                                                                               MM/ DD/ YYYY
                                                                                                                      Case
                                                    District                          When                            Number
                                                                                               MM/ DD/ YYYY
                                                                                                                      Case
                                                    District                          When                            Number
                                                                                               MM/ DD/ YYYY




B 103B (Official Form 103B)                            Application to Have the Chapter 7 Filing Fee Waived                                  page 3
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         Case:21-00878-MCF7 Doc#:2 Filed:03/19/21 Entered:03/19/21 19:15:41                                                   Desc: Main
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Debtor 1        Nilva Bernice Peguero Pimentel                                  Case number (if known)
Debtor 2        Felix Roman Estrada

Part 5:       Sign Below
  By signing here under penalty of perjury, I declare that I cannot afford to pay the filing fee either in full or in installments. I also declare that
  the information I provided in this application is true and correct.

x   /s/ Nilva Bernice Peguero Pimentel                               x   /s/ Felix Roman Estrada
    Nilva Bernice Peguero Pimentel                                       Felix Roman Estrada
    Signature of Debtor 1                                                Signature of Debtor 2

    Date    March 19, 2021                                               Date   March 19, 2021




B 103B (Official Form 103B)                          Application to Have the Chapter 7 Filing Fee Waived                           page 4
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Debtor 1        Nilva Bernice Peguero Pimentel                                 Case number (if known)
Debtor 2        Felix Roman Estrada


Fill in this information to identify the case:

Debtor 1             Nilva Bernice Peguero Pimentel
                    First Name       Middle Name                            Last Name
Debtor 2            Felix Roman Estrada
(Spouse, if filing) First Name       Middle Name                            Last Name

United States Bankruptcy Court for the:          DISTRICT OF PUERTO RICO

Case number
  (if known)




Order on the Application to Have the Chapter 7 Filing Fee Waived

After considering the debtor’s Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B), the court orders
that the application is:


   GRANTED. However, the court may order the debtor to pay the fee in the future if developments in administering the
                     bankruptcy case show that the waiver was unwarranted.

   DENIED. The debtor must pay the filing fee according to the following terms:
                                    You must pay...                    On or before this date...
                                    $
                                                                       Month/ day/ year
                                    $
                                                                       Month/ day/ year
                                    $
                                                                       Month/ day/ year
                                 + $
                                                                       Month/ day/ year
                    Total           $

           If the debtor would like to propose a different payment timetable, the debtor must file a motion promptly with a
           payment proposal. The debtor may use Application for Individuals to Pay the Filing Fee in Installments (Official
           Form 103A) for this purpose. The court will consider it.

           The debtor must pay the entire filing fee before making any more payments or transferring any more property to
           an attorney, bankruptcy petition preparer, or anyone else in connection with the bankruptcy case. The debtor
           must also pay the entire filing fee to receive a discharge. If the debtor does not make any payment when it is due,
           the bankruptcy case may be dismissed and the debtor’s rights in future bankruptcy cases may be affected.

   Scheduled for hearing.

           A hearing to consider the debtor's application will be held
           on                             at               AM/PM at
                Month/ day/ year                                       Address of courthouse

           If the debtor does not appear at this hearing, the court may deny the application.



                                                                     By the court:
                                                                                     United States Bankruptcy Judge



B 103B (Official Form 103B)                           Application to Have the Chapter 7 Filing Fee Waived                page 5
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             Case:21-00878-MCF7 Doc#:2 Filed:03/19/21 Entered:03/19/21 19:15:41                                                           Desc: Main
                                      Document Page 6 of 11
 Fill in this information to identify your case and this filing:

 Debtor 1                   Nilva Bernice Peguero Pimentel
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Felix Roman Estrada
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number                                                                                                                                    Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Ford                                    Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Ranger                                        Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       1999                                          Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate mileage:                90,000                Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          Kbb Fair Trade in Value
                                                                     Check if this is community property                         $0.00                       $0.00
                                                                     (see instructions)



  3.2      Make:       Nissan                                  Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Pathfinder                                    Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2003                                          Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate mileage:                                      Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          Kbb Fair Trade in Value
                                                                     Check if this is community property                         $0.00                       $0.00
                                                                     (see instructions)




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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 Debtor 1       Nilva Bernice Peguero Pimentel
 Debtor 2       Felix Roman Estrada                                                                                 Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living room
                                    Dining room
                                    3 bedroom set
                                    Regerigerator
                                    Stove gas
                                    China
                                    Pots & Pans                                                                                                                    $0.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV
                                    2 cellular                                                                                                                     $0.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....




Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 2
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 Debtor 1         Nilva Bernice Peguero Pimentel
 Debtor 2         Felix Roman Estrada                                                                                         Case number (if known)

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Costume jewelry
                                            Women's watch Seiko
                                            Chain & cruxifix plata                                                                                                        $0.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                               $0.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Savings                                 BPPR Direct deposit SS                                              $600.00



                                              17.2.       Savings                                 BPPR Direct deposit SS                                              $100.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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 Debtor 1         Nilva Bernice Peguero Pimentel
 Debtor 2         Felix Roman Estrada                                                                         Case number (if known)

                                            Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                          Surrender or refund
Official Form 106A/B                                                   Schedule A/B: Property                                                                page 4
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 Debtor 1        Nilva Bernice Peguero Pimentel
 Debtor 2        Felix Roman Estrada                                                                                             Case number (if known)

                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................               $700.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 5
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            Case:21-00878-MCF7 Doc#:2 Filed:03/19/21 Entered:03/19/21 19:15:41                                                                                       Desc: Main
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 Debtor 1         Nilva Bernice Peguero Pimentel
 Debtor 2         Felix Roman Estrada                                                                                                   Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                                  $0.00
 57. Part 3: Total personal and household items, line 15                                                             $0.00
 58. Part 4: Total financial assets, line 36                                                                       $700.00
 59. Part 5: Total business-related property, line 45                                                                $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                       $0.00
 61. Part 7: Total other property not listed, line 54                                             +                  $0.00

 62. Total personal property. Add lines 56 through 61...                                                           $700.00            Copy personal property total               $700.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                            $700.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
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